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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
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                                                 :
NICOLE WIESEN,                                   :   Case No.: 1:21-cv-01490-TWT-RGV
                                                 :
                               Plaintiff,        :
      vs.                                        :
                                                 :   NOTICE OF SETTLEMENT WITH
EQUIFAX INFORMATION SERVICES,
                                                 :   DEFENDANT EQUIFAX INFORMATION
LLC, EXPERIAN INFORMATION                            SERVICES, LLC
SOLUTIONS, INC., and TRANS UNION,                :
LLC,                                             :
                        Defendants.              :
                                                 :
                                                 x


       Plaintiff Nicole Wiesen (“Plaintiff”) hereby notifies the Court that the present case has

been settled between Plaintiff and Defendant Equifax Information Services, LLC (collectively,

the “parties”), and states as follows:

       1.      A settlement agreement is in the process of being finalized between the parties.

Once the settlement agreement is fully executed, and Plaintiff has received the consideration

required, the parties will respectfully request that the case be dismissed and closed.

       2.      The parties respectfully request that the Court stay this action as to Defendant

Equifax Information Services, LLC, and adjourn all deadlines and conferences.

DATED: August 13, 2021                         THE OAKS FIRM


                                                           /s/ Misty Oaks Paxton, Esq.
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